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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                        §
                                                §
VS.                                             §   CASE NO. 2:12-CR-11(3) JRG-RSP
                                                §
OSCAR DIAZ-MENDOZA                              §

              ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                       FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 3 of the

indictment with a violation of 21 U.S.C. ' 841(a)(1), Possession with Intent to Distribute and

Distribution of More than 5 grams of Methamphetamine. Having conducted a proceeding in the

form and manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the

Court accept the defendant=s guilty plea. The parties waived their right to file objections to the
     .
Findings of Fact and Recommendation. The Court is of the opinion that the Findings of Fact and

Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the

United States Magistrate Judge, filed March 1, 2013 are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 3 of the indictment in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 21st day of March, 2013.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
